Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 1 of 13




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                                           CASE NO.:
 HOWARD COHAN,

        Plaintiff,

 vs.                                                        INJUNCTIVE RELIEF SOUGHT


 BLUE MARTINI GALLERIA, INC.
 a Florida Profit Corporation
 d/b/a BLUE MARTINI

       Defendant(s).
 ____________________________________/

                                         COMPLAINT

        Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

 hereby files this Complaint and sues BLUE MARTINI GALLERIA, INC., a Florida Profit

 Corporation, d/b/a BLUE MARTINI (“Defendant”), for declaratory and injunctive relief,

 attorneys’ fees, expenses and costs (including, but not limited to, court costs and expert fees)

 pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”)

 and alleges as follows:

                                JURISDICTION AND VENUE

        1.      This Court is vested with original jurisdiction over this action pursuant to 28

 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based

 on Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as

 the 2010 ADA Standards.

        2.      Venue is proper in this Court, Fort Lauderdale Division, pursuant to 28 U.S.C. §

 1391(B) and Internal Operating Procedures for the United States District Court for the Southern
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 2 of 13




 District of Florida in that all events giving rise to the lawsuit occurred in Broward County,

 Florida.

                                                 PARTIES

         3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

 residing in Palm Beach County, Florida.

         4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor

 of the Real Property, which is subject to this suit, and is located at 2432 E Sunrise Blvd, Fort

 Lauderdale, Florida 33304, (“Premises”), and is the owner of the improvements where Premises

 is located.

         5.      Defendant is authorized to conduct, and is in fact conducting, business within the

 state of Florida.

         6.      Plaintiff is an individual with numerous permanent disabilities including severe

 spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

 spine with nerve root compromise on the right side; a non-union fracture of the left acromion

 (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

 knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

 basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms

 cause sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. At the

 time of Plaintiff’s visit to the Premises on March 22, 2022, (and prior to instituting this action),

 Plaintiff suffered from a “qualified disability” under the ADA and required the use of fully

 accessible service and eating areas, fully accessible paths of travel throughout the facility, and

 fully accessible restrooms. Plaintiff personally visited the Premises but was denied full and equal
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 3 of 13




 access and full and equal enjoyment of the facilities and amenities within the Premises, even

 though he would be classified as a “bona fide patron”.

        7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and

 avail himself of the services offered when Defendant modifies the Premises or modifies the

 policies and practices to accommodate individuals who have physical disabilities.

        8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

 aware that it would be a futile gesture to return to the Premises as long as those violations exist,

 and Plaintiff is not willing to suffer additional discrimination.

        9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

 result of Defendant's discrimination until Defendant is compelled to comply with the

 requirements of the ADA.

        10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

 able to enjoy the goods and services that are available to the able-bodied public but is currently

 precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

 Plaintiff will continue to be precluded from using the Premises until corrective measures are

 taken at the Premises to eliminate the discrimination against persons with physical disabilities.

        11.     Completely independent of the personal desire to have access to this place of

 public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

 purpose of discovering, encountering and engaging discrimination against the disabled in public

 accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

 personally visits the public accommodation; engages all of the barriers to access, or at least of

 those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

 the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 4 of 13




 discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

 with the ADA and to otherwise use the public accommodation as members of the able-bodied

 community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

 individual capacity and as a “tester”, visited Premises, encountered barriers to access at

 Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

 violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

 Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

        12.      Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendant modifies the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA.

               VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        13.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

 above as if fully stated herein.

        14.      On July 26, 1990, Congress enacted the Americans With Disabilities Act

 (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)

 years from enactment of the statute to implement its requirements. The effective date of Title III

 of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

 employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

 36.508(a).
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 5 of 13




        15.      Congress found, among other things, that:

              a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                 this number shall increase as the population continues to grow older;

              b. historically, society has tended to isolate and segregate individuals with

                 disabilities and, despite some improvements, such forms of discrimination against

                 disabled individuals continue to be a pervasive social problem, requiring serious

                 attention;

              c. discrimination against disabled individuals persists in such critical areas as

                 employment, housing, public accommodations, transportation, communication,

                 recreation, institutionalization, health services, voting and access to public

                 services and public facilities;

              d. individuals with disabilities continually suffer forms of discrimination, including

                 outright intentional exclusion, the discriminatory effects of architectural,

                 transportation, and communication barriers, failure to make modifications to

                 existing facilities and practices. Exclusionary qualification standards and criteria,

                 segregation, and regulation to lesser services, programs, benefits, or other

                 opportunities; and,

              e. the continuing existence of unfair and unnecessary discrimination and prejudice

                 denies people with disabilities the opportunity to compete on an equal basis and to

                 pursue those opportunities for which our country is justifiably famous, and

                 accosts the United States billions of dollars in unnecessary expenses resulting

                 from dependency and non-productivity.

 42 U.S.C. § 12101(a)(1)-(3),(5) and (9).
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 6 of 13




         16.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

 U.S.C. § 12101(b)(1)(2) and (4).

         17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

 Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

 fact it provides services to the general public and must be in compliance therewith.

         18.      Defendant has discriminated and continues to discriminate against Plaintiff and

 others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

 services, facilities, privileges, advantages and/or accommodations located at the Premises, as

 prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

 architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

         19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

 the facilities and therefore suffered an injury in fact.

         20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

 spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

 Defendant’s failure and refusal to provide disabled persons with full and equal access to their
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 7 of 13




 facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

 architectural barriers that are in violation of the ADA.

         21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

 Department of Justice, Officer of the Attorney General promulgated Federal Regulations to

 implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA

 Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

 under which said Department may obtain civil penalties of up to $55,000.00 for the first

 violation and $110,000.00 for and subsequent violation.

         22.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

 discriminating against Plaintiff as a result of, inter alia, the following specific violations:

         Indoor Seating

               a. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               b. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

               c. Failure to provide a sufficient dispersion of seating thought the facility when

                  dining surfaces are provided for the consumption of food or drink for a person(s)

                  with a disability in violation of 2010 ADAAG §§ 226, 226.2, 902, 305 and 306.

         Ramp Between Upper and Lower Inside Bar
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 8 of 13




          d. Failure to provide bilateral handrails on a ramp that has a rise greater than 6

             inches or in a horizontal projection greater than 72 inches in violation of 2010

             ADAAG §§ 405, 405.1, 405.8, 505 and/or §4.8.5 of the 1991 ADA Standards.

       Bar and Bar Area Inside (Upper and Lower)

          e. Providing counter heights exceeding 36 inches making it impossible to service a

             person with a disability in violation of 2010 ADAAG §§ 904, 904.4, 904.4.1,

             904.4.2, 305 and 306.

          f. Failure to provide accessible seating for person(s) with a disability at a bar or

             adjacent table in the bar area, recreational area or a table area adjacent to a pool

             for food or beverage service, or at a computer work surface such as in a business

             center, in violation of 2010 ADAAG §§ 902, 902.1, 902.2, 902.3, 305, 306 and/or

             §4.32.4 of the 1991 ADA Standards.

          g. Failure to provide seating for a person(s) with a disability that has the correct

             clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

             902.2, 305 and 306.

          h. Failure to provide a sufficient amount of seating when dining surfaces are

             provided for the consumption of food or drink for a person(s) with a disability in

             violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

       Ramp to Restroom

          i. Failure to provide bilateral handrails on a ramp that has a rise greater than 6

             inches or in a horizontal projection greater than 72 inches in violation of 2010

             ADAAG §§ 405, 405.1, 405.8, 505 and/or §4.8.5 of the 1991 ADA Standards.
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 9 of 13




       Men's Restroom ACCESSIBLE STALL

          j. Failure to provide a dispenser in an accessible position (back wall or other

             inaccessible place) so that it can be reached by a person with a disability in

             violation of 2010 ADAAG §§ 606, 606.1, 308 and 308.2.2. (Toilet seat cover

             dispenser)

          k. Failure to provide toilet paper dispensers in the proper position in front of the

             water closet or at the correct height above the finished floor in violation of 2010

             ADAAG §§ 604, 604.7 and 309.4.

          l. Failure to provide the proper spacing between a grab bar and an object projecting

             out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3. (toilet

             cleaner)

          m. Providing grab bars of improper horizontal length or spacing as required along the

             rear and side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and

             604.5.2.

          n. Failure to provide the proper insulation or protection for plumbing or other sharp

             or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§

             606 and 606.5.

          o. Failure to provide a coat hook within the proper reach ranges for a person with a

             disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

       Men's Restroom GENERAL

          p. Failure to provide the correct opening width for a forward approach into a urinal

             in violation of 2010 ADAAG §§ 305, 305.7.1, 404, 605.3 and 606.2.
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 10 of 13




          q. Failure to provide proper knee clearance for a person with a disability under a

             counter or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606

             and 606.2

          r. Failure to provide mirror(s) located above lavatories or countertops at the proper

             height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

          s. Failure to provide the correct spacing for a forward or parallel approach to an

             element due to a wall or some other obstruction in violation of 2010 ADAAG §§

             305 and 306. (trash can in approach to dispenser)

          t. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

             exceeding the limits for a person with a disability in violation of 2010 ADAAG

             §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

          u. Providing a swinging door or gate with improper maneuvering clearance(s) due to

             a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1,

             404.2, 404.2.4 and 404.2.4.1. (trash can)

       Outside Bar and Bar Area

          v. Providing counter heights exceeding 36 inches making it impossible to service a

             person with a disability in violation of 2010 ADAAG §§ 904, 904.4, 904.4.1,

             904.4.2, 305 and 306.

          w. Failure to provide accessible seating for person(s) with a disability at a bar or

             adjacent table in the bar area, recreational area or a table area adjacent to a pool

             for food or beverage service, or at a computer work surface such as in a business

             center, in violation of 2010 ADAAG §§ 902, 902.1, 902.2, 902.3, 305, 306 and/or

             §4.32.4 of the 1991 ADA Standards.
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 11 of 13




               x. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               y. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

         Outdoor Seating/Patio Area

               z. Failure to provide seating for a person(s) with a disability that has the correct

                  clear floor space for forward approach in violation of 2010 ADAAG §§ 902,

                  902.2, 305 and 306.

               aa. Failure to provide a sufficient amount of seating when dining surfaces are

                  provided for the consumption of food or drink for a person(s) with a disability in

                  violation of 2010 ADAAG §§ 226, 226.1, 902, 305 and 306.

               bb. Failure to provide a sufficient dispersion of seating thought the facility when

                  dining surfaces are provided for the consumption of food or drink for a person(s)

                  with a disability in violation of 2010 ADAAG §§ 226, 226.2, 902, 305 and 306.

         23.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 22 herein.

         24.      Although Defendant is charged with having knowledge of the violations,

  Defendant may not have actual knowledge of said violations until this Complaint makes

  Defendant aware of same.
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 12 of 13




         25.     To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

         26.     As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were

  occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

  continuing obligation to remove architectural barriers at the Premises where removal was readily

  achievable, as required by 28 C.F.R. §36.402.

         27.     To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

  obligation to design and construct such Premises such that it is readily accessible to and usable

  by individuals with disabilities, as required by 28 C.F.R. §36.401.

         28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

         29.     All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

         30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991

  ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied to

  the 1991 ADAAG standards.

         31.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily
Case 0:22-cv-61157-BB Document 1 Entered on FLSD Docket 06/17/2022 Page 13 of 13




  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the

  following injunctive and declaratory relief:

             1. That this Court declares that Premises owned, operated and/or controlled by
                Defendant is in violation of the ADA;
             2. That this Court enter an Order requiring Defendant to alter their facilities to make
                them accessible to and usable by individuals with disabilities to the full extent
                required by Title III of the ADA;
             3. That this Court enter an Order directing the Defendant to evaluate and neutralize
                their policies, practices and procedures toward persons with disabilities, for such
                reasonable time so as to allow the Defendant to undertake and complete corrective
                procedures to Premises;
             4. That this Court award reasonable attorney’s fees, all costs (including, but not
                limited to the court costs and expert fees) and other expenses of suit to the
                Plaintiff; and,
             5. That this Court award such other and further relief as it may deem necessary, just
                and proper.

         Dated June 17, 2022.

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